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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

YVONNE FROST,
                                Plaintiff,                                 20-CV-8625 (CM)
                         -against-                                             ORDER
US GOVERNMENT, et al.,
                                Defendants.

COLLEEN McMAHON, Chief United States District Judge:

         The Court denies Plaintiff leave to file this action because she fails to show that her

claims are not frivolous. See Frost v. NYPD, ECF 1:20-CV-0417, 5 (S.D.N.Y. Feb. 14, 2020)

(requiring Plaintiff to submit with any new complaint: a motion for leave to file; a copy of the

February 14, 2020 order; the relevant fees or IFP application; and a statement, made under

penalty of perjury, stating that the claims are not frivolous or in bad faith, that the lawsuit is not

brought for any improper purpose, such as to harass or cause unnecessary delay, and that the

filing complies with this Court’s orders, the Federal Rules of Civil Procedure, and this Court’s

Local Rules).

         The Court directs the Clerk of Court to terminate any pending motions and close this

action.1

SO ORDERED.

Dated:       October 16, 2020
             New York, New York

                                                              COLLEEN McMAHON
                                                          Chief United States District Judge




         1
             Plaintiff has consented to electronic service. (ECF No. 4.)
